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    Exhibit 4
Court Order on T.I.
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                                                       4/17/2020 3:39 PM
                                                                        Velva L. Price
                                                                       District Clerk
                                                                       Travis County
                                                                    D-1-GN-20-001610
                                                                         Daniel Smith
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